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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                :
                                        :
                                        :
           v.                           :       MAGISTRATE NUMBER 23-71-2
                                        :
                                        :
ANTHONY NOLF                            :


                             ENTRY OF APPEARANCE


    I hereby enter my appearance on behalf of the defendant in the above-captioned matter.




                                                Respectfully submitted,



                                                /s/ Michael McCrossen
                                                MICHAEL McCROSSEN
                                                Assistant Federal Defender
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                                 CERTIFICATE OF SERVICE


        I, Michael McCrossen, Assistant Federal Defender, Federal Community Defender Office

for the Eastern District of Pennsylvania, Federal Court Division Defender Association of

Philadelphia, hereby certify that I have electronically filed and served a copy of the attached

Entry of Appearance via Electronic Case Filing upon Michael Lawrence Barclay, Assistant

United States Attorney, office located at 601 D Street NW, Washington, DC 20530.




                                                      /s/ Michael McCrossen
                                                      MICHAEL McCROSSEN
                                                      Assistant Federal Defender

DATE:          May 10, 2023
